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                            14                               UNITED STATES DISTRICT COURT
                            15                                       DISTRICT OF NEVADA
                            16   ROBERT ARMIJO,                                Case No.: 3:22-cv-00112-MMD-CLB
                            17                          Plaintiff,             DEFENDANT YUGA LABS’ REPLY IN
                                                                               SUPPORT OF MOTION TO STAY
                            18   v.                                            DISCOVERY OR EXTEND DEADLINES
                                                                               UNDER FRCP 26(F) AND LR 26-1 AND
                            19   OZONE NETWORKS, INC. d/b/a OPENSEA,           TO VACATE CASE MANAGEMENT
                                 a New York Corporation, YUGA LABS LLC         AND SCHEDULING ORDERS
                            20   d/b/a BORED APE YACHT CLUB, a Delaware
                                 limited liability company; LOOKSRARE; and ORAL ARGUMENT REQUESTED
                            21   DOES 1to 50,
                            22                          Defendants.
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                             1   I.     INTRODUCTION
                             2          Courts in this District regularly grant motions to stay discovery pending dispositive

                             3   motions, particularly those raising jurisdictional challenges. Yuga Labs’ motion established that a

                             4   stay is appropriate in this matter because a “preliminary peek” at the merits of Yuga Labs’

                             5   pending motion to dismiss demonstrates that personal jurisdiction is lacking and that plaintiff will

                             6   be unable to state a viable claim for relief. Plaintiff’s opposition (“Opp.”) does not cite a single

                             7   case suggesting otherwise. The only purported bases for personal jurisdiction plaintiff raises are

                             8   directly contradicted by case law. And plaintiff’s arguments on the merits of his negligence and

                             9   contract claims not only ignore his fundamental pleading obligations, but also are an admission

                            10   that he needs additional facts in order to plausibly allege each element of his claims. Yuga Labs’

                            11   motion to dismiss raises substantial, dispositive legal issues that are likely to be resolved in its

                            12   favor and plaintiff does not identify any real prejudice that would result from a stay.
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                            13          Because resolution of the motion to dismiss will likely be dispositive of all claims, a stay of

                            14   discovery and any associated obligations, including any deadlines triggered by Federal Rule of

                            15   Civil Procedure 26(f) and Local Rule 26-1, is not only warranted, but favored.

                            16   II.    PLAINTIFF’S OPPOSITION CONFIRMS THAT HIS JURISDICTIONAL
                                        ARGUMENTS ARE PURE SPECULATION
                            17

                            18          Plaintiff concedes that a stay of discovery is warranted where there is a pending dispositive

                            19   motion that may be decided without additional discovery, and a “preliminary peek” at the merits

                            20   of the motions suggests plaintiff will be unable to state a claim for relief. Urban Outfitters, Inc. v.

                            21   Dermody Operating Co., 2021 WL 3605053 (D. Nev. Aug. 13, 2021) (granting stay based on

                            22   alleged lack of personal jurisdiction) (see Opp. at 7). As the cases cited in plaintiff’s opposition

                            23   make clear, “a pending motion challenging jurisdiction strongly favors a stay.” AMC

                            24   Fabrication, Inc. v. KRD Trucking W., Inc., 2012 WL 4846152, at *2 (D. Nev. Oct. 10, 2012)

                            25   (granting motion to stay discovery based on alleged lack of personal jurisdiction) (emphasis

                            26   added); see also Tradebay, LLC v. eBay, Inc., 278 F.R.D. 597, 601 (D. Nev. 2011) (granting

                            27   motion to stay discovery pending disposition of motion to dismiss on jurisdictional grounds and

                            28   failure to state a claim) (see Opp. at 8). Here, Yuga Labs’ motion to dismiss established that there

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                             1   is no general jurisdiction over Yuga Labs in Nevada because it is not “essentially at home” in

                             2   Nevada, but instead is a Delaware corporation with no offices, employees, or contractors in

                             3   Nevada. Specific personal jurisdiction is also lacking here. Plaintiff has not – and cannot – meet

                             4   his burden to establish both (1) that Yuga Labs directed its activities at Nevada and “purposely

                             5   availed itself” of conducting activities in Nevada; and (2) that plaintiff’s claims arise out of or

                             6   relate to forum-related activities by Yuga Labs. See Schwarzenegger v. Fred Martin Motor Co.,

                             7   374 F.3d 797, 802 (9th Cir. 2004). See MTD FAC 1 at 6-12; Stay Mot. at 7-9.

                             8             The opposition to the motion to stay raises only two purported bases for jurisdiction: (1)

                             9   Yuga Labs’ purported interactions with members of the virtual BAYC who happen to reside in

                            10   Nevada; and (2) Yuga Labs’ alleged partnerships with third parties to engage with BAYC club

                            11   members in Nevada. Opp. at 9-11. Both theories fail.

                            12             With respect to the claim based on purported membership in the BAYC, numerous courts
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                            13   around the country have confirmed that there is no jurisdiction over a nationwide club in a

                            14   particular state simply because the club provides services to members there.2 See, e.g., Baton v.

                            15   Ledger SAS, 2021 WL 5226315, at *6 (N.D. Cal. Nov. 9, 2021) (“[A] finding [of] purposeful

                            16   direction cannot ‘be based on the mere fact that [an entity] provides services to customers

                            17   nationwide, including but not limited to [the forum state].’”), appeal filed. Ignoring this clear case

                            18   law, plaintiff points to Yuga Labs’ social media communications on Twitter and Discord with

                            19   BAYC club members and the world at large, asserting that these communications constitute

                            20   “substantial contacts” with BAYC community members here. Opp. at 9. But again, cases from

                            21   this district and other jurisdictions universally hold otherwise. Personal jurisdiction is not

                            22   established based on websites that are merely informational or that advertise. See Software Dev.

                            23   & Inv. of Nevada v. Wall, 2006 WL 8442597, at *2 (D. Nev. Feb. 13, 2006) (no specific personal

                            24

                            25   1   Defined terms have the same meaning as in Yuga Labs’ motion to stay (“Stay Mot.”).
                                 2Plaintiff’s sole case, Ford Motor, does not hold otherwise. That Court did not find jurisdiction
                            26   was established because of an “ongoing relationship between Ford and its customers,” but rather,
                                 because plaintiffs’ claims related to car accidents that occurred in the forum states involving cars
                            27   sold by Ford, i.e., there was an “activity [or] occurrence involving the defendant that takes place
                                 within the State[.]” See Ford Motor Co. v. Montana Eighth Judicial Dist. Court, 141 S. Ct. 1017,
                            28   1019, 1023, 1026-30 (2021).
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                             1   jurisdiction based on “passive websites provid[ing] information and advertising”). Even an

                             2   interactive website or social forum – such as a blog – does not suffice unless it is primarily

                             3   “commercial” in nature (and incidental sales do not count). Id. at *3.

                             4            Plaintiff’s contention that the “decentralized nature of web3” (Opp. at 9) somehow creates

                             5   a novel legal question is disingenuous and makes no sense: the Internet has been around for

                             6   decades, and courts addressing the question of how to handle jurisdiction when websites are

                             7   available everywhere (including websites that offer, sell, and distribute things, and allow users to

                             8   interact) is nothing new. Web3 is merely a new way for individuals to interact with the internet.

                             9   As the countless cases cited in Yuga Labs’ motion to dismiss demonstrate (see MTD FAC at 7-

                            10   12), the virtual club of BAYC NFT holders, and the BAYC website, Twitter, and Discord do not

                            11   create personal jurisdiction over Yuga Labs in every state simply because they are accessible from

                            12   every state. 3 Plaintiff offers nothing persuasive to the contrary.
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                            13            Nor could these deficiencies be cured through plaintiff’s request for “jurisdictional

                            14   discovery” (Opp. at 10) into purported sales or distributions of physical and digital goods by Yuga

                            15   Labs to other Nevada residents (not plaintiff, who does not allege that ever having purchased or

                            16   received goods of any kind from Yuga Labs). That discovery is simply irrelevant here, where

                            17   plaintiff’s claims do not arise out of those sales or distributions. See Schwarzenegger, 374 F.3d at

                            18   802 (no personal jurisdiction unless plaintiff’s claim “arises out of or relates to the defendant’s

                            19   forum-related activities”).

                            20            Plaintiff’s “advertising” argument fares no better. Despite two letters and two sworn

                            21   declarations explaining to plaintiff that Yuga Labs had nothing to do with a Las Vegas advertising

                            22   campaign, plaintiff’s opposition doubles down on his unsupported theory that Yuga Labs is

                            23   somehow behind that advertising nonetheless. See Opp. at 10. That claim is a red herring. Even

                            24   if Yuga Labs had advertised in Nevada (and, again, the uncontroverted facts are that it did not),

                            25   that still could not create personal jurisdiction in this action because plaintiff does not bring

                            26
                                 3Equally absurd is plaintiff’s claim that under Yuga Labs’ theory, the “only place” Yuga Labs
                            27   could ever face a lawsuit is its place of incorporation. Not so. Like every other company, Yuga
                                 Labs is subject to jurisdiction anywhere it purposefully avails itself of conducting business and
                            28   where the claim arises out of those business activities. Plaintiff’s claims present no such facts.

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                             1   claims for false advertising, use of someone’s name or likeness in advertising, or otherwise

                             2   remotely related to the alleged advertising campaign. Cf. Sinatra v. Nat’l Enquirer, Inc., 854 F.2d

                             3   1191, 1195-98 (9th Cir. 1988) (finding purposeful availment where claim was specifically based

                             4   on content of the ads at issue). Again, plaintiff’s reliance on Ford Motor is misplaced. There, the

                             5   Supreme Court held that where an automobile manufacturer regularly sells cars in a state, it is

                             6   subject to jurisdiction for accidents occurring in that state caused by product defects in the same

                             7   type of car it sells in the state, notwithstanding that the specific cars involved in the accidents were

                             8   originally sold in other states. See Ford Motor, 141 S. Ct. at 1029-30. Here, even if Yuga Labs

                             9   regularly sold NFTs in Nevada (which plaintiff does not assert), plaintiff does not bring claims

                            10   based on some inherent defect in NFTs he purchased from a third party (not Yuga Labs) in

                            11   another state. Instead, plaintiff brings negligence and contract claims against Yuga Labs based on

                            12   his interactions on a generally available community Discord channel – activities that have no
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                            13   connection to any sales or advertising of any kind, inside or outside Nevada. 4

                            14   III.     A STAY IS ALSO WARRANTED BECAUSE PLAINTIFF’S OPPOSITION
                                          CONFIRMS THAT HE CANNOT STATE A CLAIM FOR RELIEF
                            15

                            16            A stay of discovery is appropriate where a complaint likely fails to state a viable claim for

                            17   relief. Opp. at 11-12; see Duffy v. ASNY NY, LLC, 2022 WL 1785395 (D. Nev. May 31, 2022)

                            18   (granting stay where plaintiff likely failed to state a claim for relief); Robinson v. Las Vegas

                            19

                            20   4 Plaintiff asks why Yuga Labs “draw[s] attention” to the fact that plaintiff now admits he did not
                                 reside in Nevada when the FAC was filed. Opp. at 6 n.2. Simple. It appears plaintiff misstated
                            21   this fact to bolster the appearance that Nevada is the right forum for this suit. While it is correct
                            22   that diversity jurisdiction is measured at the time of the initial suit, that alone does not resolve the
                                 question of whether the Court has subject matter jurisdiction based on complete diversity. It is
                            23   plaintiff’s burden to show that he was domiciled in Nevada at the time the complaint was filed,
                                 not just that he resided there. It is not clear that the Incline Village, Nevada home, which was
                            24   promoted as an airbnb rental and sold just after this case was filed, was in fact ever plaintiff’s
                                 domicile. And here, where Does are named, the question takes on even more significance in
                            25
                                 determining subject matter jurisdiction and complete diversity. See Doe v. Tapang, 2019 WL
                            26   3576995, at *4 (N.D. Cal. Aug. 6, 2019), aff’d, 834 F. App’x 399 (9th Cir. 2021). Current
                                 residence is also a factor courts consider in deciding appropriate venue. See, e.g., Worley v.
                            27   Montgomery, 2021 WL 3616710, at *2 (D. Nev. Aug. 16, 2021) (plaintiff’s forum choice carries
                                 “little weight” where she does not reside in forum). The cavalier approach to pleading basic
                            28   jurisdictional facts also calls into question other allegations in the FAC.
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                             1   Metro. Police Dep’t, 2021 WL 5173616 (D. Nev. Nov. 4, 2021) (same); Urban Outfitters, 2021

                             2   WL 3605053 (same). The purpose of Federal Rule of Civil Procedure 12(b)(6) is to enable

                             3   defendants to challenge the legal sufficiency of a complaint without subjecting themselves to

                             4   discovery. Tradebay, 278 F.R.D. at 601 (citing Rutman Wine Co. v. E. & J. Gallo Winery, 829

                             5   F.2d 729, 738 (9th Cir. 1987)). “[D]iscovery follows the filing of a well-pleaded complaint. It is

                             6   not a device to enable the plaintiff to make a case when his complaint has failed to state a claim

                             7   for relief.” Steinmetz v. Experian Info. Solutions, Inc., 2019 WL 3082720, at *1 (D. Nev. July 15,

                             8   2019) (quoting Mujina v. AirScan Inc., 771 F.3d 580, 583 n.7 (9th Cir. 2014)). Here, plaintiff’s

                             9   opposition confirms that the FAC does not state a claim against Yuga Labs.

                            10            A.     The FAC Fails To State A Viable Claim For Negligence

                            11            Plaintiff acknowledges that, in Nevada, “[w]hether a defendant owes a plaintiff a duty of

                            12   care is a question of law.” Opp. at 12; Scialabba v. Brandise Constr. Co., 921 P.2d 928, 968
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                            13   (Nev. 1996); Beckman v. Match.com, LLC, 2017 WL 1304288, at *3 (D. Nev. Mar. 10, 2017),

                            14   aff’d, 743 F. App’x 142 (9th Cir. 2018). Yet, he takes the irreconcilable position that determining

                            15   whether a special relationship exists, which goes hand in hand with whether a duty exists, “is a

                            16   factually intensive inquiry” that requires further discovery. See Opp. at 12. In doing so, plaintiff

                            17   misrepresents the facts and contradicts the very law that he cites. See id.; Beckman, 2017 WL

                            18   1304288, at *4 (dismissing negligence claim at motion to dismiss stage because no special

                            19   relationship existed between plaintiff and Match.com as a matter of law). 5 A complaint only

                            20   survives a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) where plaintiff

                            21   meets the pleading standard of alleging facts sufficient to “plausibly suggest an entitlement to

                            22   relief.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). Contrary to plaintiff’s claim, Yuga

                            23   Labs’ Rule 12(b)(6) motion to dismiss did not raise “factual disagreements between the parties”

                            24   (Opp. at 13) because Yuga Labs was forced to accept the allegations in the FAC as true. Instead,

                            25   the motion to dismiss contended that no special relationship exists as a matter of law based on the

                            26
                                 5 Plaintiff inexplicably relies on Brennan v. Cadwell Sanford Deibert & Garry LLP, 2020 WL
                            27   5653673 (D. Nev. Sept. 22, 2020), but the motion to stay discovery there was granted because the
                                 issues were “matters of law that the Court can decide without discovery.” Id. at *2. The same is
                            28   true here as to jurisdiction and plaintiff’s inability to state a viable claim under Rule 12(b)(6).

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                             1   facts as alleged in the FAC. A preliminary peek at the merits of this question makes clear that

                             2   plaintiff pleads no facts even remotely supporting a special relationship.

                             3          Plaintiff concedes that the threshold legal question of a special relationship is satisfied

                             4   only where “the ability of one of the parties to provide for his own protection has been limited in

                             5   some way by his submission to the control of another.” Beckman, 2017 WL 1304288, at *3.

                             6   Despite acknowledging this principle, plaintiff fails to identify any allegations in the FAC that

                             7   indicate that his “ability” to provide for his own “protection” was “limited” by Yuga Labs’

                             8   actions. Instead, plaintiff makes the unremarkable point that the FAC alleges that Yuga Labs

                             9   controls the gatekeeping function for BAYC club membership and the distribution of benefits to

                            10   club members. Opp. at 13. Putting aside that that is purely a function of who holds an NFT

                            11   according to the blockchain, what plaintiff never explains is how this purported control by Yuga

                            12   Labs over the BAYC somehow limited plaintiff’s ability to decide not to open his wallet to a
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                            13   thief. Reading through the opposition, this Court would not know that a third-party criminal stole

                            14   plaintiff’s NFTs from plaintiff’s personal digital wallet after he voluntarily interacted with an

                            15   unknown individual, on a Discord server unrelated to Yuga Labs or the BAYC, and then clicked

                            16   on a link provided by the bad actor (which he did not verify), and thereby provided access to his

                            17   digital wallet. Plaintiff does not allege that Yuga Labs had any control whatsoever over that chain

                            18   of events, nor could he – plaintiff admits that he acted freely of his own accord. If anything, a

                            19   preliminary peek at the merits demonstrates that, just as in Beckman, plaintiff fails to plead a

                            20   special relationship and, given the lack of a cognizable duty, his negligence claim fails. The

                            21   claim also fails for the independent reasons that causation is not plausibly alleged and the claim is

                            22   barred by the economic loss doctrine – defects the opposition does not even attempt to address.

                            23          B.      Plaintiff’s Breach Of Contract Claim Also Fails As A Matter Of Law
                            24          Yuga Labs’ challenge to the legal sufficiency of plaintiff’s breach of contract claim is also

                            25   likely to prevail. The FAC fails to adequately allege that (a) Yuga Labs made a contractual offer,

                            26   or (b) the parties formed a contract that includes “lifetime membership” in the BAYC or

                            27   “membership benefits to ‘rightful’ owners of a Bored Ape or Mutant Ape NFT irrespective of

                            28   whether they hold an NFT according to the blockchain.” MTD FAC at 20-23 (noting the absence

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                             1   of any factual allegations stating that BAYC membership benefits are available to individuals

                             2   who do not hold a Bored Ape NFT according to the blockchain and discussing the BAYC terms

                             3   and conditions that provide the opposite).

                             4          Attempting to sidestep Yuga Lab’s actual challenges to the contract claim, plaintiff

                             5   focuses exclusively on whether Yuga Labs’ online statements constitute “‘offers’ in the

                             6   contractual sense.” Opp. at 13. Specifically, plaintiff argues that, because the question of

                             7   whether Yuga Labs made “an operative offer” “depends upon all the surrounding circumstances,”

                             8   the parties’ factual disagreements regarding contract formation prevent Yuga Labs from

                             9   prevailing on its motion to dismiss. Opp. at 13-14 (quoting Sateriale v. R.J. Reynolds Tobacco

                            10   Co., 697 F.3d 777, 784 (9th Cir. 2012). Again, plaintiff misunderstands 12(b)(6) motions.

                            11   Plaintiff’s FAC offers vague and conclusory assertions on contract formation that are insufficient

                            12   as a matter of law. He claims that “BAYC made this offer on [BAYC’s] “official Twitter
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                            13   account,” which is allegedly “explained in further detail on BAYC’s official website.” See FAC

                            14   ¶¶ 170-181 (allegations regarding the first claim for relief – breach of contract). Yuga Labs’

                            15   motion to dismiss challenges the legal sufficiency of these threadbare allegations. In particular,

                            16   the motion to dismiss argues that plaintiff’s complaint identifies statements that are, at most,

                            17   advertisements, and as a matter of law “[a]dvertisements count as offers only where they ‘invite

                            18   the performance of a specific act without further communication and leave nothing for

                            19   negotiation.’” MTD FAC at 20 (quoting Sateriale, 697 F.3d at 788 (emphasis added)). As the

                            20   motion to dismiss explains, according to plaintiff’s own allegations, which must be accepted as

                            21   true at this stage of the litigation, the purported “offer” said nothing about what membership

                            22   entails or the supposed term that plaintiff claims Yuga Labs allegedly breached – that

                            23   membership belongs to those making claims of “rightful” ownership of a qualifying NFT and not

                            24   according to the blockchain. Id. at 20-21; see also Stay Mot. at 11. As a result, plaintiff fails to

                            25   plead the necessary element of an offer.

                            26          Indeed, plaintiff completely misreads the rule in Sateriale regarding whether a

                            27   communication constitutes an operative contractual offer, asserting that “[l]ooking into the

                            28   ‘surrounding circumstances’ is another way of saying that this Court must make an inquiry into

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                             1   the facts of the case.” Opp. at 13. And on this basis, plaintiff asserts that there is a “factual

                             2   dispute in need of further immediate exploration” that precludes granting Yuga Labs’ motion to

                             3   dismiss. Opp. at 14 (citing Brennan, 2020 WL 5653673 at *2). Sateriale held no such thing. In

                             4   that case, the district court dismissed the plaintiff’s contract claim under Rule 12(b)(6). 697 F.3d

                             5   at 784. While the appellate court reversed the dismissal, that decision had nothing to do with the

                             6   parties’ opposing positions regarding contract formation (i.e., whether or not defendant’s

                             7   statements constituted an “offer”) or suggesting that a factual inquiry into the “surrounding

                             8   circumstances” was necessary to decide the issue as a matter of law under Rule 12(b)(6). Id. at

                             9   784-92. Instead, the appellate court found that as a matter of pleading, the allegations had been

                            10   sufficient “in light of the totality of the circumstances surrounding RJR’s communications to

                            11   consumers.” Id. at 787-88 (finding that the alleged offer “invited the performance of specific acts

                            12   . . . without further communication, and leaving nothing for negotiation.”). That does nothing to
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                            13   undermine the fact that the operative pleading here is and remains facially deficient.

                            14          C.      Plaintiff’s Alternative Implied Covenant Claim Is Equally Defective

                            15          Just as with the breach of contract claim, plaintiff mischaracterizes Yuga Labs’ challenge

                            16   to the implied covenant claim and misunderstands the Court’s analysis on a 12(b)(6) motion. Yet

                            17   again, plaintiff incorrectly asserts that there “is a factual dispute in need of further immediate

                            18   exploration” that prevents granting the motion to dismiss. Opp. at 14 (citing Brennan).

                            19          Consistent with the law, Yuga Labs’ position is that an implied covenant claim is

                            20   “available only where there is literal compliance with a contract but conduct that otherwise

                            21   ‘deliberately [contravenes] the intention and spirit of the contract.’” Stay Mot. at 11 (citing

                            22   Hilton Hotels Corp. v. Butch Lewis Prods., Inc., 808 P.2d 919, 922-23 (Nev. 1991)); see also

                            23   MTD FAC at 23-24 (citing multiple cases following this general rule and dismissing implied

                            24   covenant claims). Here, where plaintiff has not sufficiently alleged that a contract was formed,

                            25   the implied covenant does not apply. But even if plaintiff had effectively done so, he has not

                            26   alleged (as he must) Yuga Labs’ compliance with the terms of that agreement, or any conduct by

                            27   Yuga Labs undermining the intention and spirit of any such contract. If anything, Yuga Labs has

                            28   done precisely what the terms and conditions attached to Bored Ape NFTs said it would do –

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                             1   “rely on the blockchain to determine ownership and rely on NFT holders to safeguard

                             2   themselves.” MTD FAC at 23 (noting plaintiff’s repeated admissions regarding the applicability

                             3   of such terms). Instead, plaintiff attempts to repackage his breach of contract claim as a breach of

                             4   the implied covenant claim without pleading the required elements as a matter of law. See Opp.

                             5   at 14 (asserting that plaintiff entered into a contract for membership benefits and whether Yuga

                             6   Labs breached the implied covenant is a factual dispute). That plaintiff did not meet his pleading

                             7   burden is not reasonably subject to dispute, however. Dismissal of this claim is also appropriate.

                             8   IV.      THE COMPETING INTERESTS OVERWHELMINGLY FAVOR A STAY

                             9            Although plaintiff agrees that Nevada courts may balance “the competing interests of the

                            10   parties” when determining whether a stay is appropriate, he cites the wrong standard for weighing

                            11   those interests. See Opp. at 14-15. 6 The correct standard considers, among other things, “the

                            12   hardship or inequity which a party may suffer in being required to go forward, and the orderly
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                            13   course of justice measured in terms of the simplifying or complicating of issues, proof, and

                            14   questions of law which could be expected to result from a stay.” Puckett v. Schnog, 2013 WL

                            15   1874754, at *3 (D. Nev. May 3, 2013) (quoting Lockyer v. Mirant Corp., 398 F.3d 1098, 1110

                            16   (9th Cir. 2005)) (competing interests favor a stay where defendant’s motion was likely to be case

                            17   dispositive).

                            18            Here, these factors weigh heavily in favor of granting a stay. Indeed, there is no greater

                            19   inequity than forcing a party to participate in discovery as to defective claims, and that is all the

                            20   worse where jurisdiction is also lacking. See, e.g., Duffy, 2022 WL 1785395, at *3 (even without

                            21   jurisdictional issues, finding time and money spent on discovery on defective claims results in

                            22   prejudice). There is also no question that the orderly course of justice, and ample case law in this

                            23   jurisdiction, provides that a stay is appropriate where there is a pending meritorious motion to

                            24   dismiss for lack of personal jurisdiction or failure to state a claim. See Section II supra (citing

                            25
                                 6Plaintiff improperly grafts the heightened standard for seeking a protective order under Fed. R.
                            26   Civ. P. 26(c), as articulated in Tradebay, onto the competing interests analysis: “A showing that
                                 discovery may involve some inconvenience and expense does not suffice to establish good cause
                            27   for issuance of a protective order. … Rather, a party seeking a protective order must show a
                                 particular and specific need for the protective order.” 278 F.R.D. at 601 (emphasis added). It
                            28   does not apply here where the argument is that all discovery is premature.
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                             1   cases). Here, both grounds are established. A discovery stay until the motions to dismiss are

                             2   resolved also makes sense, as those rulings serve to simplify the “issues, proof, and questions of

                             3   law.” Puckett, 2013 WL 1874754, at *3. These principles are also reflected in Judge Du’s

                             4   standing order, which aims to avoid “unnecessary discovery.” Standing Order at 1. For all these

                             5   reasons, a stay is appropriate and this Court should grant Yuga Labs’ request.

                             6            Plaintiff’s arguments to the contrary are unavailing. First, Plaintiff relies on Federal Rule

                             7   of Civil Procedure 1 to argue that he is entitled “to a just and speedy determination of his action.”

                             8   Opp. at 15. But Rule 1 cuts both ways. Forcing Yuga Labs to engage in expensive and

                             9   burdensome discovery before this Court has determined if it even has jurisdiction over Yuga

                            10   Labs, or whether plaintiff’s claims have any merit, also runs afoul of Rule 1’s mandates. See

                            11   Duffy, 2022 WL 1785395, at *3 (noting a discovery stay “accomplish[es] the objectives of Rule 1,

                            12   especially considering that Plaintiffs must satisfy Rule 8’s pleading requirement before engaging
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                            13   in discovery”). Second, plaintiff argues that a delay in discovery will cause him “to continue to

                            14   lose out on the benefits conferred on BAYC members” (Opp. at 15), but plaintiff’s loss of access

                            15   to the BAYC (and any alleged benefits from any source that may accrue to NFT holders) is the

                            16   result of plaintiff’s own carelessness and the bad acts of a third party, not this Court’s procedural

                            17   decisions. Moreover, commencing discovery will not (and frankly cannot, absent the return of his

                            18   NFTs, which Yuga Labs does not have) result in any benefits, nor has plaintiff sought any

                            19   immediate relief from this Court. See Duffy, 2022 WL 1785395, at *3 (“[I]f discovery is stayed

                            20   and the Court later denies Defendant’s motion to dismiss, Plaintiffs may only suffer a delay in

                            21   receiving answers to their discovery requests.”). Third, plaintiff contends that there is a “risk of

                            22   losing important evidence” if discovery is not allowed to proceed at this time. But there is

                            23   nothing to support that contention 7 (Yuga Labs is well aware of its preservation obligations) and

                            24   Nevada courts have rejected similar arguments before. See Puckett, 2013 WL 1874754, at *3

                            25   (rejecting plaintiff’s argument that defendant “will hide valuable assets”).

                            26
                                 7 Indeed, nothing prevented plaintiff from day one from collecting evidence from online platforms
                            27   that he has identified as possessing supporting evidence, nor did plaintiff serve any third-party
                                 subpoenas at the first opportunity. If plaintiff is truly concerned about the loss of evidence caused
                            28   by a modest delay, he could send preservation notices to third party witnesses to address the issue.

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                             1   V.     CONCLUSION

                             2          The only thing that plaintiff’s opposition confirms is that a stay of discovery is warranted

                             3   here because Yuga Labs has raised compelling, dispositive jurisdictional and substantive

                             4   challenges to plaintiff’s claims, to which plaintiff has no answer. Yuga Labs respectfully requests

                             5   that the Court stay discovery, including the deadlines triggered by Rule 26(f) and LR 26-1, and

                             6   vacate the Rule 26(f) report, Scheduling Order, and Order to File Case Management Report (and

                             7   attendant discovery-related obligations) entered July 21, 2022 as premature, and adjourn further

                             8   case scheduling until such time as the pending motions to dismiss have been decided.

                             9

                            10   Dated: September 2, 2022                     FENWICK & WEST LLP

                            11                                                By:     /s/ Jennifer C. Bretan
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                             1                                   CERTIFICATE OF SERVICE

                             2          Pursuant to F.R.C.P. 5(b) and Electronic Filing Procedure IV(B), I certify that on

                             3   September 2, 2022, a true and correct copy of YUGA LABS’ REPLY IN SUPPORT OF

                             4   MOTION TO STAY was transmitted electronically through the Court’s CM/ECF e-filing

                             5   electronic notice system to all attorneys associated with the above-captioned case.

                             6                                                /s/ Jennifer C. Bretan
                                                                              Jennifer C. Bretan
                             7                                                Fenwick & West LLP
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